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                           IN THE COURT OF COMMON PLEAS
                               HAMILTON COUNTY, OHIO

                                                 ) Case No. A 2003792
 PHILIP R. MCHUGH,                               )
                                                 ) Hon. Alison Hatheway
                              Plaintiff,         )
                                                 )
 v.                                              ) AMENDED COMPLAINT WITH
                                                 ) ENDORSED JURY DEMAND
 FIFTH THIRD BANCORP, ET AL.,                    )
                                                 )
                               Defendants.       )
                                                 )
                                                 )


       Now comes Plaintiff Philip R. McHugh (“Plaintiff”), and for his Amended Complaint

against Defendants Fifth Third Bancorp, Fifth Third Bank, N.A., and Gregory D. Carmichael

(collectively, “Defendants”) for violations of the Age Discrimination in Employment Act

(“ADEA”), 26 U.S.C. Section 621, et seq., as well as O.R.C. § 4112, having secured the consent

of Defendants to file the same pursuant to Civ. R. 15(A), says that:

       1.      He is a resident of Cincinnati, Ohio; a citizen of the State of Ohio, and until October

16, 2020, was employed as the Executive Vice President of Fifth Third Bank, reporting directly to

Gregory D. Carmichael, its President, Chief Executive Officer, and Chairman of the Board of Fifth

Third Bancorp ("Carmichael").

       2.      Fifth Third Bancorp is a diversified financial services company with its principal

place of business in Cincinnati, Ohio, and is the parent company of Fifth Third Bank.

       3.      Fifth Third Bank, N.A. is now a federally chartered bank, regulated by the Office

of the Comptroller of the Currency, and is engaged principally in Commercial Banking, Branch

Banking, Consumer Lending, and Wealth and Asset Management. It is one of the largest such

banks in the United States, and engages in its business activities in Ohio, Michigan, Indiana,
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Illinois, Kentucky, West Virginia, Tennessee, North Carolina, Georgia and Florida. It employs

more than twenty (20) persons, and is subject to both the federal and state laws prohibiting age

discrimination in employment.

       4.      Carmichael is, upon information and belief, a resident of Cincinnati, a citizen of the

State of Ohio, and the incumbent Chairman of the Board, President and Chief Executive Officer

of Fifth Third Bancorp, having held such position since January, 2018. Carmichael began his

career with Fifth Third in 2003, and has held various executive management positions at the bank,

including Chief Information Officer, Chief Operating Officer, and President and CEO. At all times

relevant herein, Carmichael was McHugh's manager.

       5.      Carmichael has been a director of the Bank since 2015, and presently serves on ten

of the eleven committees of the Board.

       6.      According to the Fifth Third Bancorp 2020 Proxy Statement, the average annual

Chief Executive Officer compensation for 2017-2019 was nearly $10,000,000.00.

       7.      This court has concurrent subject matter jurisdiction under federal law and original

jurisdiction under Ohio law. This court has personal jurisdiction over all named defendants. Venue

is appropriate in Hamilton County, Ohio as the events giving rise to the Complaint occurred there.

       8.      McHugh, now fifty-six (56) years of age, began his career with Fifth Third Bank in

Cincinnati in October, 1986. In April, 1994 the Bank requested him to move to Louisville,

Kentucky to build the Trust and Investment Division of its then newly acquired affiliate. In March,

2001, he was promoted to run the Commercial Division of the Louisville Affiliate, and in

December, 2005, was named President and CEO of Fifth Third Louisville with full responsibility

for all business and staff functions.

       9.      In January, 2010, Carmichael, then the Bank's Executive Vice President and Chief

Operating Officer, requested that McHugh return to Cincinnati to lead the Fifth Third Private

Bank, Trust and Investment Division. During his tenure then and there, the Trust and Investment

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Division substantially grew its assets, revenue, and net income.

       10.     In April, 2017, Carmichael, then Bank Chief Executive Officer and President,

requested that McHugh become head of Fifth Third's Consumer Bank, which included full

responsibility for Retail Banking, Mortgage Lending, Business Banking for companies with less

than $20.0 million in annual revenues, and for indirect auto lending. Later that year, in December,

Carmichael reassigned additional responsibility to McHugh, charging him with oversight of the

Wealth and Asset Management division of the Bank.

       11.     In August, 2018, Carmichael, in his first year as Board Chairman, assigned

McHugh responsibility for leadership of all fourteen of the Bank's regional presidents, noting that

this additional assignment involved a much larger role, greater responsibility, and a more

significant impact on Fifth Third Bank. The advance now gave McHugh responsibility for

Business Banking, Wealth and Asset Management, as well as Regional Banking.

       12.     At that time, Carmichael appointed Timothy N. Spence ("Spence"), succeeding

McHugh, to be head of the Consumer Bank, but McHugh kept Business Banking, Wealth and

Asset Management, and overall responsibility for Regional Banking.

       13.     In late June, 2019, Carmichael delegated further responsibility to McHugh,

directing that he accept the Public Relations and Community and Economic Development Groups,

as well as retaining all prior assignments.

       14.     In each and every successive position at Fifth Third Bank, McHugh excelled in his

performance, and was rewarded with additional compensation, greater responsibility and a higher

profile within the Bank. At no time did Carmichael ever communicate to McHugh that his

performance was lacking, inadequate, insufficient, or less than expected.

       15.     On August 15, 2019, during McHugh's mid-year performance review, Carmichael,

the Chairman of the Board, President and Chief Executive Officer, told McHugh that he,

Carmichael, would be pursuing other matters, and that he, Carmichael, promised that he would

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recommend McHugh to be the next President and Chief Executive Officer, for a term of three to

five years, until Spence was ready for the assignment. Carmichael told McHugh that he was the

most qualified officer on the executive team to take the President and Chief Executive Officer

positions, and that Spence was not only too young but also lacked necessary banking experience,

having been at that point at Fifth Third only four years.

       16.        Following an off-site meeting on August 18, 2019, Robert Shaffer ("Shaffer"), then

the Bank's Chief Human Resources Officer, confirmed to McHugh what Carmichael had earlier

promised him, that McHugh would be the next President and Chief Executive Officer, and

confided to McHugh his opinion that McHugh was the most qualified executive to acquire such

responsibility.

       17.        On February 14, 2020, during his annual performance review, Carmichael told

McHugh that the Board of Directors had requested that Carmichael extend his term for one to two

years, and suggested to McHugh that McHugh might then be too old to hold that position, but did

not indicate that Carmichael's change of plans would adversely impact McHugh.

       18.        Shortly thereafter, Shaffer informed McHugh that with his then assigned

responsibilities, he would be one of the five most-highly compensated employees at the Bank, and

as a Named Executive Officer, would be identified in the 2021 proxy statement issued in

connection with the 2021 Annual Meeting of the Shareholders of Fifth Third Bank.

       19.        In February, 2020, Carmichael requested that McHugh take on additional

responsibility for Middle Market Banking (for companies with revenues ranging from $20 - $500

million), and Fifth Third Insurance, resulting in McHugh having twenty direct reports,

substantially more than any other senior executive.

       20.        On March 9, 2020, the Bureau of Consumer Financial Protection ("CFPB") filed

its second misconduct complaint against Fifth Third Bank, this time in Chicago, Illinois, in Case

No. 1:20-cv-01683, asserting that the Bank had unlawfully and illegally opened deposit accounts

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in consumers' names without their authorization to do so, transferred funds from existing accounts

to new accounts, without authorization, issued credit cards, enrolled consumers in online banking

services, and opened lines of credit on consumers' accounts. In doing so, the CFPB alleged that

Fifth Third Bank had engaged in repeated violations of the Consumer Financial Protection Act,

the Truth in Lending Act, and the Truth in Savings Act, together with their implementing

regulations, and sought injunctive and monetary relief.

       21.     The assignment of this additional responsibility required that McHugh commit

substantial time to resolution of then serious credit issues in the Middle Market Banking Portfolio,

as well as supervise the Bank's SBA lending response in light of the COVID-19 pandemic. In the

first and second iterations of the Paycheck Protection Program, Fifth Third Bank made loans of

$5.5 billion, against an average SBA loan year with $400 million extended.

       22.     Shortly before the Board of Director meetings of September 21 and 22, McHugh

discussed with Carmichael McHugh's presentation to the Board regarding the Bank's performance,

and was explicitly directed by Carmichael to indicate that, across all lines of business for the Bank,

the Regional Banking contributed 63% of the Bank's net income. This representation underscored

the significance of McHugh's role, and reemphasized Carmichael's promise to endorse McHugh

for the President and Chief Executive Officer position.

       23.     On October 13, 2020, Carmichael met with McHugh, and, for the first time, advised

McHugh that he was to be demoted to head of Consumer Banking, a role from which he had

previously been promoted, and was to report to Spence, who would assume McHugh's

responsibilities for Regional Banking, and Wealth and Asset Management. McHugh was also

informed that he would lose his responsibilities for Middle Market Banking.

       24.     Carmichael voiced no criticism of McHugh's performance. He did not express any

cause for such action.

       25.     Surprised by this turn of events, McHugh inquired whether there were any

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alternatives available to him. Carmichael said that was not McHugh's only option, but offered no

other alternatives. McHugh requested that he have a few days to consider demotion to head of

Consumer Bank. McHugh next met with Carmichael on October 15, 2020.

       26.     McHugh informed Carmichael that he believed that it was in the best interest of the

Bank and its shareholders that he remain in his incumbent position. Carmichael told McHugh that

McHugh had consistently delivered excellent results in every management position he had held.

Carmichael said that his reputation for honesty and integrity within the Bank was unchallenged.

       27.     Carmichael told him that his position, and most of its significant duties and

responsibilities, were being given to Spence to enable Spence to acquire the experience he needed

to become the next President and Chief Executive Officer. Carmichael told McHugh that he made

the decision to advance Spence, and acknowledged that it came at McHugh's expense. Spence is

forty-one (41) years old.

       28.     Carmichael acknowledged that he had never suggested to McHugh that McHugh

was no longer to be considered for President and Chief Executive Officer, and twice apologized

that he had not discussed this with McHugh. He agreed that this change in assignment came at

McHugh's expense, and was made to enable Spence, an individual substantially younger than and

less qualified than McHugh, to get the experience needed to become Chief Executive Officer.

       29.     Later that day, Shaffer called McHugh, and informed him that his only choice was

to accept the demotion, failing which he was not to return to work. McHugh suggested he and

Shaffer meet face to face Monday morning to discuss the matter; Shaffer told McHugh that if he

did not accept the demotion, he should not to return to work on Monday. McHugh called

Carmichael to confirm such an instruction; but Carmichael refused to take the call or to return the

call. McHugh's employment with Fifth Third Bank was terminated on Monday, October 26, 2020.

       30.     On October 26, 2020, Carmichael and Fifth Third Bank announced the appointment

of Spence as President of the Bank. Fifth Third disingenuously announced that McHugh had left

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the Bank.

        31.     McHugh was discriminated against in his employment by the Bank because of his

age.

        32.     McHugh commenced this action seeking relief on October 28, 2020.

        33.     McHugh’s filing of this action was an exercise of protected activity, including an

opposition to unlawful discriminatory practices by Defendants, and the participation in a

proceeding.

        34.     Two days after McHugh’s filing of this action, Defendants engaged in unlawful

retaliation against McHugh on the basis of his protected activity, including by filing a retaliatory

counterclaim against McHugh for abuse of process

        35.     Defendants’ retaliatory acts have continued, including attempts to immediately

harass McHugh’s wife and four children through subpoenas for documents and testimony which

have no relation to McHugh’s claims or employment at Fifth Third.

        36.     McHugh filed a timely charge of discrimination and retaliation with the Equal

Employment Opportunity Commission (“EEOC”), on November 5, 2020.

        37.      On December 18, 2020, McHugh received a notice of dismissal and right to sue

from the EEOC. A true and accurate copy of the same is attached hereto as Exhibit A. McHugh

has satisfied all conditions precedent to exercise his rights under federal and state law.

        38.     As a direct result of such discrimination and retaliation, in violation of both federal

and state law, McHugh has sustained financial losses in base pay, variable compensation, long

term incentive compensation, equity awards, stock options, and health coverage for himself and

his family, all to his detriment in an amount exceeding $12,500,000.00.

                        COUNT I:       FAILURE TO PROMOTE, ADEA

        39.     The allegations of Paragraphs 1 through 38 are hereby incorporated by reference as

if fully restated herein.

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        40.     McHugh was 56 years old at the time of his termination from Fifth Third.

        41.     McHugh was highly qualified for the positions of President of Fifth Third and CEO

of Fifth Third, and expressed a willingness to accept the positions after Carmichael informed

McHugh that he would be recommended for them.

        42.     Despite the positions of President and CEO being promised to McHugh, he was

later rejected for the promotion.

        43.     Instead, Defendants promoted Spence, a substantially younger and less qualified

individual, to the position of President. Defendants’ articulated reasons for promoting Spence over

McHugh are false, and a mere pretext for age discrimination.

        44.     Defendants above-referenced discriminatory acts are willful violations such that

McHugh is entitled to liquidated damages.

                    COUNT II:       FAILURE TO PROMOTE, O.R.C. § 4112

        45.     The allegations of Paragraphs 1 through 45 are hereby incorporated by reference as

if fully restated herein.

        46.     The allegations which state a cause of action under the “Count I: Failure to

Promote” under the ADEA also state a cause of action for failure to promote under O.R.C. §

4112.02(N), 4112.14, and 4112.99.

        47.     Defendants committed the above-referenced discriminatory acts with malice and/or

reckless indifference to the rights to Plaintiff such that Plaintiff is entitled to punitive damages.

                      COUNT III: WRONGFUL TERMINATION, ADEA

        48.     The allegations of Paragraphs 1 through 47 are hereby incorporated by reference as

if fully restated herein.

        49.     Plaintiff was 56 years old at the time of his termination.

        50.     Plaintiff was highly qualified for the Executive Vice President position he held at

Fifth Third.

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        51.     In October 2020, Defendants deliberately created intolerable working conditions

for McHugh, with the intention of forcing McHugh to leave his employment. This included

requiring McHugh to accept a demotion to Head of Consumer Banking, a position he previously

held, and to report directly to Spence, a substantially younger and less qualified individual who,

until that point, reported directly to McHugh.

        52.     When McHugh did not accept the demotion, Fifth Third terminated his

employment, and promoted Spence to the position of President, taking on substantially all of

McHugh’s responsibilities.

        53.     Defendants’ attempts to demote McHugh, and termination of McHugh when he did

not accept, were discriminatory on the basis of McHugh’s age.

        54.     Defendant’s articulated reason for Plaintiff’s termination is a pretext for age

discrimination.

        55.     Defendant’s above-referenced discriminatory acts are willful violations such that

Plaintiff is entitled to liquidated damages.

                  COUNT IV: WRONGFUL TERMINATION, O.R.C. § 4112

        56.     The allegations of Paragraphs 1 through 55 are hereby incorporated by reference as

if fully restated herein.

        57.     The allegations which state a cause of action under “Count III: Wrongful

Termination” under the ADEA also state a cause of action for wrongful termination under O.R.C.

§ 4112.02(N), 4112.14, and 4112.99.

        58.     Defendants committed the above-referenced discriminatory acts with malice and/or

reckless indifference to the rights to Plaintiff such that Plaintiff is entitled to punitive damages.

                              COUNT V:         RETALIATION, ADEA

        59.     The allegations of Paragraphs 1 through 58 are hereby incorporated by reference as

if fully restated herein.

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          60.   McHugh engaged in protected activity under O.R.C. § 4112, including by initiating

this action on October 29, 2020 for age discrimination.

          61.   Within two days of engaging in this protected activity, Defendants took adverse

actions against McHugh through the filing of a frivolous counterclaim asserting abuse of process,

which seeks awards of punitive damages and attorney’s fees against McHugh for the mere filing

of an age discrimination lawsuit.

          62.   Since that time, Defendants have engaged in further unlawful retaliatory acts,

including abusive subpoenas directed to McHugh’s wife and four children.

          63.   Defendants’ abuse of process counterclaim has no basis in fact, and is nothing more

than a retaliatory tactic in response to Plaintiff engaging in protected activity under the ADEA,

including his opposition to Defendants’ unlawful conduct and participation in this action.

          64.   Defendants committed the above-referenced retaliatory acts with malice and/or

reckless indifference to the rights of Plaintiff.

                            COUNT VI: RETALIATION, O.R.C. § 4112

          65.   The allegations of Paragraphs 1 through 65 are hereby incorporated by reference as

if fully restated herein.

          66.   The allegations which state a cause of action under “Count V: Retaliation” under

the ADEA also state a cause of action for retaliation under O.R.C. § 4112.02(I).

          67.   Defendants committed the above-referenced discriminatory acts with malice and/or

reckless indifference to the rights to Plaintiff such that Plaintiff is entitled to punitive damages.

          WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

consistent with Civil Rule 8(A), for damages in excess of $25,000.00, together with the following

relief:

    A. Lost Wages (back pay)

    B. Lost benefits;

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   C. Reinstatement, or front pay in lieu thereof;

   D. Compensatory damages

   E. Punitive damages

   F. Liquidated damages

   G. Pre-judgment and post-judgment interest

   H. Attorneys’ fees and expenses; and

   I. All other relief to which Plaintiff is entitled.



                                         JURY DEMAND

       Plaintiff hereby demands trial by jury on all issues on all issues triable to a jury

Of Counsel for Plaintiff:

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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Amended Complaint with Endorsed Jury

Demand was duly served by electronic mail upon the following attorneys for defendants, in

compliance with Civ. R. 5(B)(2)(f) of the Ohio Rules of Civil Procedure, this 18th day of March,

2021:


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                                                   /s/ Joshua M. Smith
                                                   Attorney for Plaintiff




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